Case 2:15-cv-01116-JMV-JBC Document 492 Filed 12/28/22 Page 1 of 2 PageID: 8548




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 Galleher and Matthew Kim

                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

  MAXLITE, INC., a New Jersey
  Corporation, f/k/a SK AMERICA,
  INC., d/b/a MAXLITE,
                                              Civil Action No. 2:15-CV-01116-JMV-
                                              JBC
                 Plaintiff,

  v.

  ATG ELECTRONICS, INC.,
  JAMES D. STEEDLY, SOPHIA C.                        NOTICE OF APPEARANCE BY
  GALLEHER and MATTHEW                                   ZACHARY A. LEVY
  KIM,

                 Defendants.



 TO THE CLERK OF THE COURT AND ALL COUNSEL OF RECORD:

 PLEASE TAKE NOTICE that Zachary A. Levy, of the law firm of Pashman Stein Walder

 Hayden, is authorized to practice in this Court and hereby enters an appearance in this matter as

 additional counsel for Defendants Sophia C. Galleher and Matthew Kim.

                                       PASHMAN STEIN WALDER HAYDEN, P.C.

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Case 2:15-cv-01116-JMV-JBC Document 492 Filed 12/28/22 Page 2 of 2 PageID: 8549




                              Attorneys for Defendants,
                              Sophia C. Galleher, and Matthew Kim


 Date: December 28, 2022      By:   /s/ Zachary A. Levy
                                    ZACHARY A. LEVY




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